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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION
                                          CASE NO.: 1: ll-cv-22177
                     (Ancillary Proceeding to Case No. 09-80765-Civ-Dimitrouleas/Snow)

     MICHAEL GOLDBERG,
     as Receiver for Sterling Wentworth CUlTency Group
     and Lasalle International CUlTency Corp., and
     MICHELLE BLUM, on her own behalf,
     and on behalf of all others similarly situated,

                       Plaintiffs,
     v.

     D & E COMMUNICATIONS, a Florida corporation,
     GABRIEL CARINO, individually,
     PETER LINDGREN, individually,
     JOHN PALLADINO, individually,
     LINDGREN-PITMAN, INC., a Florida corporation,
     RONALD LAING, individually,
     JOSEPH WILLIS, individually,
     JACOB KASEL, individually,
     B.E.L. LEASING, Inc., a Florida corporation,
     PETER LINDGREN FAMIL Y TRUST,
     KEITH PETRON, individually,
     LORI SARIDAKIS, individually,
     NICHOLAS GORY, individually,

                       Defendants
     _________________________________,1


                                       PLAINTIFF'S NOTICE OF SETTLEMENT

              Plaintiff, Michael Goldberg, as Receiver for Sterling Wentworth CUlTency Group and LaSalle

     International CUlTency Corp. ("Plaintiff' or the "Receiver"), hereby gives notice of settlement with

     Defendants Peter Lindgren, Lindgren-Pitman, Inc., B.E.L. Leasing, Inc., and the Peter Lindgren

     Family Trust (collectively, the "Lindgren Defendants"), and states as follows.




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              1.       On October 4, 2012, Plaintiff and the Lindgren Defendants reached a global

     settlement of Plaintiffs claims against each of the Lindgren Defendants.

              2.       While, as of the date of this filing, the settlement has been documented and

     formalized, the Receiver still must seek approval of the settlement with the Court, pursuant to the

     terms of the Order appointing the Receiver.1

              3.       Accordingly, Plaintiff respectfully requests all pending deadlines respecting the

     Lindgren Defendants be stayed until such time as the Court has had an opportunity to present this

     settlement, along with any others, to the Court for approva1. 2 CUTI'ently, the only immediately

     pending deadlines are the Lindgren Defendants' Response to the Plaintiffs' Motion for Summary·

     Judgment, which Responses are due today.

     Dated: October 12,2012

                                                         Respectfully submitted:

                                                         By: /s/ David A. Rothstein, Esq.
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     lSee CFTC v. LaSalle International Clearing Corporation, etal., Case No. 09-80765-CIV-DIMITROULEAS
     (S.D. Fla.), Order Appointing Receiver (D.E. 31).
     2As of the date of this filing, the Receiver anticipates filing a motion seeking approval of settlements with
     defendant Gabriel Carino, Jacob Kassel, John Palladino, Ronald Laing, Keith Petron, and each of the
     Lindgren Defendants. Should the Court approve those settlements, Plaintiff will then dismiss his case, as
     to each. Defendants Joseph Willis and Lori Saridakis were each previously dismissed from this action (See
     D.E. 76 and 85), and the Court entered default judgments as to Defendants D&E Communications, and
     Nicholas Gory (D.E. 53 and 54). Thus, with Court approval of the settlements, this action would be
     concluded but for the Court's retention of jurisdiction to enforce the aforementioned settlements.

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                                                               Attorneys for Plaintiff
                                              CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on October 12, 2012, I served the foregoing on all counsel of

     record and pro se parties at the following addresses:

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